Case 2:04-cV-02689-.]P|\/|-de Document 18 Filed 05/23/05 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

 

 

JOHN MACK EDWLRDS,
Plaintiff,

v. No. 04-2689 Ml/V

CITY OF COVINGTON, TENNESSEE,

and RUSSELL BAILEY, in his

capacity as Mayor thereof,

Defendants.

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ORDER SETTING TELEPHONE CONFERENCE REGARDING SCHEDULING OF RULE
65(3)(2) HEARING

 

The Court hereby sets a telephone conference in this case
for Wednesdav, June l, 2005, at lO:OO a.m. Durinq the
ccnference, the parties should be prepared tc discuss whether
this case should be scheduled for a Federal Rule cf Civil
Prccedure 65(a}(2) hearing, as well as any ether scheduling
issues. Plaintiff shall initiate the call with all parties ch

the line.

30 eastman this ,Eth day cf May, 2005.

a Ml

JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

T\ns comment emered On the docket ShBet in com !iance
him Ru!e 53 and/or ?`9(2) FHCP on .M' d '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:04-CV-02689 Was distributed by faX, mail, or direct printing on
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

